                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                             AT KNOXVILLE

 AMERICAN RELIABLE INSURANCE COMPANY;             )
 UNITED NATIONAL INSURANCE COMPANY;               )
 AMERICAN SECURITY INSURANCE COMPANY;             )
 AMERICAN BANKERS INSURANCE COMPANY OF            )
 FLORIDA; STANDARD GUARANTY INSURANCE             )
 COMPANY; FARMERS INSURANCE EXCHANGE; FIRE        )
 INSURANCE EXCHANGE; FOREMOST INSURANCE           )
 COMPANY GRAND RAPIDS, MICHIGAN; FOREMOST         )
 PROPERTY AND CASUALTY INSURANCE COMPANY;         )
 FOREMOST SIGNATURE INSURANCE COMPANY;            )
 ILLINOIS FARMERS INSURANCE COMPANY; MID-         )
 CENTURY INSURANCE COMPANY; TRUCK                 )
 INSURANCE EXCHANGE; and NAUTILUS                 )
 INSURANCE COMPANY;                               )
                                                  )
                    Plaintiffs                    )
                                                  )
 v.                                               )    No. ___________________
                                                  )
 UNITED STATES OF AMERICA,                        )
 the federal government,                          )
                                                  )
                    Defendant                     )
                                                  )

                                   COMPLAINT

       Plaintiffs, AMERICAN RELIABLE INSURANCE COMPANY; UNITED NATIONAL

 INSURANCE COMPANY; AMERICAN SECURITY INSURANCE COMPANY; AMERICAN

 BANKERS INSURANCE COMPANY OF FLORIDA; STANDARD GUARANTY INSURANCE

 COMPANY; FARMERS INSURANCE EXCHANGE; FIRE INSURANCE EXCHANGE; FOREMOST

 INSURANCE COMPANY GRAND RAPIDS, MICHIGAN; FOREMOST PROPERTY AND

 CASUALTY INSURANCE COMPANY; FOREMOST SIGNATURE INSURANCE COMPANY;

 ILLINOIS FARMERS INSURANCE COMPANY; MID-CENTURY INSURANCE COMPANY; TRUCK

 INSURANCE EXCHANGE; and NAUTILUS INSURANCE COMPANY (“Plaintiffs”), by and through




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 Counsel, make the following Complaint (“Complaint”) against the Defendant, UNITED STATES OF

 AMERICA (“Defendant” or “USA”):

                                         INTRODUCTION

        1.      Plaintiffs bring this action under the Federal Tort Claims Act (“FTCA”), 28 U.S.C. §§

 1346, 2401, and 2671-2680 against the Defendant USA for damages arising from the negligent acts

 or omissions on the part of employees or agents of the Department of the Interior (“DOI”) and/or

 National Park Service (“NPS”) in response to the Chimney Tops 2 Fire in the Great Smokey

 Mountains National Park (“GSMNP” or “the Park”).

                                         THE PLAINTIFFS

        2.      At all relevant times, Plaintiffs were entities authorized to conduct and transact

 business as insurance companies in Tennessee.

        3.      At all relevant times, Plaintiffs insured real property, personal property, businesses,

 and automobiles in and around Gatlinburg, Tennessee.

        4.      Plaintiffs’ policyholders, identified in “Exhibit 1” of this Complaint, presented claims

 to the Plaintiffs for damage to their real property, personal property, businesses, and automobiles

 arising from the Chimney Tops 2 Fire.

        5.      Consistent with the Plaintiffs’ policies of insurance, and Plaintiffs’ obligations under

 the law, Plaintiffs investigated, adjusted, and paid, or will pay, their respective policyholders for

 damage to real property, personal property, businesses, and automobiles arising from the Chimney

 Tops 2 Fire. See Exhibit 1.

        6.      Under the terms, conditions, and provisions of each separate and respective policy of

 insurance, and by operation of law, Plaintiffs have become, or will become, equitably and legally

 subrogated to the claims, rights, and demands of each of its policyholders to the extent of the

 payments made and to be made.



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        7.      The Plaintiffs now stand in the shoes of their policyholders and are entitled to initiate

 legal action against Defendant in this proceeding.

                                        THE DEFENDANT

        8.      Defendant is the United States of America (“USA”).

        9.      The NPS is a component of the DOI and an agency of Defendant.

        10.     The NPS owns, manages, controls, operates and/or maintains the 417 parks of the

 National Park System, including the GSMNP.

        11.     All persons employed by the NPS are “employees of the [USA] government,” as the

 term is defined in 28 U.S.C. § 2671.

        12.     At all times referred to herein, the USA, its agencies, employees and agents, whether

 named or unnamed herein, were acting under color of federal law, statutes, ordinances, regulations,

 policies, customs, practices and usages of the USA, pursuant to their authority thereunder.

        13.     Defendant can be served with process via the Attorney General, Mr. William Barr, III,

 U.S. Department of Justice, 950 Pennsylvania Avenue, NW, Washington, DC 20530-0001, or via J.

 Douglas Overbey, United States Attorney, Eastern District of Tennessee, United States’ Attorney’s

 Office, 800 Market Street, Suite 211, Knoxville, Tennessee 37902, both of whom are agents authorized

 to accept service of process for the USA.

                                  JURISDICTION AND VENUE

        14.     Plaintiffs submitted their claims for damages to the DOI on or around November 22,

 2018, pursuant to the FTCA, 28 U.S.C. § 2671-2680. See Exhibit 2.

        15.     28 U.S.C. § 2675 allows claimants (Plaintiffs) to file a lawsuit six (6) months after

 having received no response from the United States government to their claims for damages.

        16.     The USA failed to respond to Plaintiffs’ claims for damages, much less resolve

 Plaintiffs’ claims for damages within the permitted six (6) month period. All conditions precedent to



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 those claims under the FTCA have been satisfied, and Plaintiffs now bring this Complaint pursuant

 to the FTCA, 28 U.S.C. § 2671.

         17.      The claims asserted by Plaintiffs arise out of certain actions, omissions, and otherwise

 negligent conduct by employees of the DOI and/or NPS, a component of the DOI and authorized

 agent of the USA, which resulted in, among other things, substantial property losses incurred by

 Plaintiffs’ insureds.

         18.      This Court has jurisdiction over the subject matter of this Complaint pursuant to 28

 U.S.C. §§ 1331 and 1346(b).

         19.      Venue is properly within the Eastern District of Tennessee pursuant to 28 U.S.C. §

 1402(b), as Plaintiffs’ claims arose within this District, and the acts complained of occurred within this

 District.

                 DUTIES AND RESPONSIBILITIES OF GSMNP OFFICIALS

         20.      The Fire Management Officer (“FMO”) of the GSMNP was responsible for oversight

 of the GSMNP’s fire program. See Exhibit 3, Chimney Tops 2 Fire Review: Individual Fire Review

 Report (hereinafter “NPS Report”), at 8.

         21.      Upon information and belief, at all relevant times Greg Salansky (“Mr. Salansky”), in

 his role as the Appalachian-Piedmont Zone Fire Management Officer (“Zone FMO”), was acting

 FMO of the GSMNP.

         22.      The Duty Officer (“DO”) was responsible for providing operational oversight for

 monitoring the Chimney Tops 2 Fire. In particular, the DO was responsible for ensuring compliance

 with NPS safety policies, as well as coordinating and setting priorities for suppression actions and

 resource allocation. [Exhibit 3, NPS Report, at 8].

         23.      Upon information and belief, as FMO, Mr. Salansky was also responsible for assigning

 an individual to act as the DO during the Chimney Tops 2 Fire.



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          24.    Instead of following proscribed protocol and assigning an individual to act as the DO

 during the Chimney Tops 2 Fire, Mr. Salansky unilaterally decided to act as the DO himself. [Exhibit

 3, NPS Report, at 2].

          25.    The Incident Commander (“IC”) of the Chimney Tops 2 Fire was responsible for the

 overall management of the Fire and reporting to the Agency Administrator. [Exhibit 3, NPS Report,

 at 8].

          26.    Upon information and belief, the Agency Administrator (“AA”), in the case of the

 Chimney Tops 2 Fire, was GSMNP Superintendent Cassius Cash.

          27.    Upon information and belief, GSMNP Superintendent Cassius Cash was scheduled to

 be off work from November 23, 2016 to November 27, 2016, for the Thanksgiving Holiday. In

 Superintendent Cash’s absence, Deputy GSMNP Superintendent Clayton Jordan served as “Acting”

 GSMNP Superintendent.

                                      BACKGROUND FACTS

          28.    On November 22, 2016, the National Weather Service declared Gatlinburg and the

 GSMNP to be in an “extreme” and “exceptional” drought condition. As a result, the risk of wildland

 fire was significant.

          29.    The following day, Wednesday, November 23, 2016, at about 5:00 P.M., a fire of less

 than one (1) acre was discovered near the top of the Chimney Tops Trail (“the Fire” or “Chimney

 Tops 2 Fire”) by Mr. Salansky. [Exhibit 3, NPS Report, at 8].

          30.    Mr. Salansky initially attempted to contain the Chimney Tops 2 Fire using a hand tool,

 but he was unsuccessful and retreated. [Exhibit 3, NPS Report, at 8].

          31.    On Thursday, November 24, 2016, Mr. Salansky returned to the top of Chimney Tops

 Trail to investigate the Fire. See Exhibit 3, NPS Report, at 9-11.




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         32.       Due to the Thanksgiving Holiday, most of the GSMNP fire staff was on leave. [Exhibit

 3, NPS Report, at 9]. Mr. Salansky failed to request resources for additional staff. Id., at 10.

         33.       Mr. Salansky developed a plan to “contain” the Fire inside a 400-acre containment box

 utilizing natural features, including trails and a nearby creek, and constructed fire-lines to “hold the

 fire.” [Exhibit 3, NPS Report, at 10].

         34.       Mr. Salansky delineated the 400-acre containment box using topographic natural

 barriers and relying on drainages to contain the Fire. A portion of the box located on the south and

 west side of Chimney Tops 2 required construction of a fire line. Ultimately, Mr. Salansky failed to

 construct the containment box. [Exhibit 3, NPS Report, at 10].

         35.       From Thursday, November 24, 2016, to Monday, November 28, 2016, in direct

 disregard of mandatory requirements, no overnight monitoring of the Chimney Tops 2 Fire occurred.

 See generally, Exhibit 3, NPS Report.

         36.       On Saturday, November 26, 2016, multiple weather advisories warned Mr. Salansky

 of worsening weather and wind conditions to occur on Monday, November 28, 2016. [Exhibit 3, NPS

 Report, at 12].

         37.       On Monday, November 28, 2016, predicted weather conditions caused the Chimney

 Tops 2 Fire to spread outside the “containment box” and outside of the GSNMP altogether, causing

 extensive destruction of real property, personal property, businesses, and automobiles of Plaintiffs’

 policyholders. [Exhibit 3, NPS Report, at 16-18].

                                  MONITORING IS MANDATORY

         38.       The Fire Monitoring Handbook (“FMH”) is also known as DO #18: Wildland Fire

 Management (USDI NPS 1998). A copy of the FMH is attached to this Complaint as “Exhibit 4”.

         39.       In accordance with the FMH, fire managers must, “[c]onsider the potential for the

 fire to leave a designated management zone, impact adjacent landowners, threaten human safety



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 and property, impact cultural resources, affect air quality, or threaten special environmental resources

 such as threatened, endangered or sensitive species.” [Exhibit 4, FMH, at 10] (emphasis added).

         40.     The FMH outlines standardized methods to be used throughout the NPS for

 documenting, monitoring, and managing all wildland fires. These standardized methods are mandatory

 and must be followed. See generally Exhibit 4, FMH.

         41.     During the Initial Assessment phase of a fire, fire managers must determine the fire

 cause and location, and monitor fire size, fuels, spread potential, weather, and smoke

 characteristics. Fire managers must also address particular threats and constraints regarding human

 safety, cultural resources, and threatened or endangered species or other sensitive natural resources

 relative to the suppression effort (especially fire-line construction), and work collaboratively with other

 Park staff and inter-agency staff to address goals and objectives outlined in government agency policies,

 manuals, directives, etc. [Exhibit 4, FMH, at 9].

         42.     NPS Reference Manual 18, also commands fire managers to monitor all fires. [NPS

 Reference Manual 18, Chapter 2 Wildland Fire Management, at 9] (“All wildland fire events must be

 monitored.”). A copy of the NPS Reference Manual 18 is attached to this Complaint as “Exhibit 5”.

         43.     Specifically, fire managers must monitor wildland fires in order to:

                 “Provide managers with information essential for decision making;
                 Determine whether fire management program objectives are being
                 met; Ensure protection of human life, property, and natural and
                 cultural resources; Determine the effectiveness of the planned strategy;
                 assist with contingency planning; Increase knowledge of fire behavior
                 and effects on park ecosystems; Provide long-term documentation for
                 actions taken on a wildland fire; [and] Identify human health and safety
                 concerns from wildland fire.”

 [Exhibit 5, NPS Reference Manual 18, Chapter 2 Wildland Fire Management, at 9].

         44.     For five consecutive nights—from Wednesday, November 23, 2016 through Sunday,

 November 27, 2016—Mr. Salansky and GSMNP officials failed to monitor the Chimney Tops 2 Fire




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 in the overnight hours. See generally, Exhibit 3.

           45.   Proper monitoring of fire-behavior and spotting during the overnight hours on Sunday,

 November 27, 2016 to Monday, November 28, 2016, would have provided valuable insight into the

 growth pattern and potential for the Chimney Tops 2 Fire to escape the Park. Furthermore, proper

 monitoring would have provided Mr. Salansky and GSMNP officials sufficient time to notify local

 residents and local officials of the growth pattern and potential for the Chimney Tops 2 Fire to escape

 the Park.

                                     WARNING IS MANDATORY

           46.   GSMNP’s own Fire Management Plan (“FMP”) mandates that Park officials must

 notify Park neighbors—including local government officials, local residents and Park visitors—of all

 planned and unplanned fire management activities that have the potential to impact them. A copy of

 the FMP is attached to this Complaint as “Exhibit 6”.

           47.   Specifically, the FMP provides:

                 “Park neighbors, Park visitors and local residents will be notified of all
                 planned and unplanned fire management activities that have the
                 potential to impact them.”

 [Exhibit 6, FMP, 3.3.2, at 28] (emphasis added).

           48.   The FMP further mandates that fire managers take actions to mitigate the risks to the

 neighboring public. Specifically, these, “mitigation actions [are] required to protect values at risk and

 to ensure the safety of park staff and visitors as well as the neighboring public.” [Exhibit 6, FMP, 4.4.2,

 at 54].

           49.   With respect to “Park neighbors” and “neighboring public” those actions include:

                          •   Post current fire information on websites as available;
                          •   Inform park neighbors of wildland fires; and
                          •   Suppress those fires or parts there of that threaten to burn off of park
                              property or that adversely impact public health and safety.



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 [Exhibit 6, FMP, 4.4.2, at 55].

         50.      Mr. Salansky and the GSMNP officials took no action to warn local officials and

 residents of danger until Monday, November 28, 2016, the day the Fire left the GSMNP. [Exhibit 3,

 NPS Report, at 35].

         51.      If Plaintiffs’ insureds and/or local government agencies and local fire agencies had

 received timely notice of the risk of the Chimney Tops 2 Fire expanding into their communities, they

 could have taken precautionary actions, including but not limited to: (1) removing their most valuable

 property to a safer location; and (2) preparing their properties for lower fire spread risk (e.g., cutting back

 tree limbs, drenching the exterior of their homes with water, digging their own fire lines, etc.).




                             MANDATORY COMMAND STRUCTURE

         52.      Wildfires are categorically typed by complexity, from Type 5 (least complex) to Type

 1 (most complex).

         53.      The Interagency Standards for Fire and Fire Aviation Operations in effect at the time

 of the Chimney Tops 2 Fire (hereinafter, the “Redbook”), a copy of which is attached to this

 Complaint as “Exhibit 6”, provides that, “[a]ll wildfires, regardless of complexity, will have an Incident

 Commander (“IC”). [Exhibit 7, Redbook, at 208].

         54.      The IC is a single individual responsible to the Agency Administrator(s) for 23 different

 incident activities. [Exhibit 7, Redbook, at 208].

         55.      Upon information and belief, additionally, DO coverage must also be implemented

 during periods of anticipated prolonged fire damage.




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            56.     Under the Park’s FMP, the IC is responsible for performing a strategic fire assessment,

  including an evaluation of (1) the conditions and circumstances under which a fire occurs; (2) the likely

  consequences to firefighter and public safety; (3) natural and cultural resources; and (4) the values to be

  protected. The assessment of the foregoing dictated the IC’s response and management strategy for

  the Fire. [Exhibit 6, FMP, at 45].

            57.     The Park’s FMP requires the IC to relay the size-up and planned strategy and tactics

  to both the FMO and the DO, who must initiate the Wildland Fire Decision Support System (“WFDSS”)

  process and notify the Park’s Fire Management Committee. [Exhibit 6, FMP, 4.1.2, at 45] (emphasis

  added).

            58.     To maintain fire-management policy oversight, the Redbook strictly prohibits a single

  person from holding the positions of IC and DO simultaneously. [Exhibit 3, NPS Report, at 36].

            59.     The Redbook further prohibits an IC from holding concurrent management duties,

  such as functioning as the Zone and Park FMO and DO. [Exhibit 3, NPS Report, at 36].

            60.     Further, under Redbook policies, a DO may not fill any incident-command function

  connected to any incident. [Exhibit 6, FMP, Table 6, at 40; Exhibit 3, NPS Report, at 31].

            61.     Under NPS policy and the FMP, three different people should have been running the fire-

  management operation: the FMO, who oversees the big picture; an overall IC; and an on-scene DO.

  [Exhibit 3, NPS Report, at 36].

            62.     Mr. Salansky, in his role as the Appalachian-Piedmont Zone Fire Management Officer

  (“Zone FMO”), was responsible for the GSMNP. [Exhibit 3, NPS Report, at 53].

            63.     As Zone FMO, Mr. Salansky was also the FMO for the GSMNP. [Exhibit 3, NPS

  Report, at 30].




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         64.     After the Chimney Tops 2 Fire was discovered on Wednesday, November 23, 2016,

  upon information and belief, Mr. Salansky unilaterally decided that he would act as the IC for the

  Chimney Tops 2 Fire.

         65.     As the IC, Mr. Salansky was responsible for establishing the appropriate organizational

  structure for the Fire and managing the Fire based on his qualifications, incident complexity, and span

  of control. [Exhibit 7, Redbook, at 231].

         66.     Upon information and belief, as FMO, Mr. Slanasky was also responsible for assigning

  an individual to act as the DO during the Chimney Tops 2 Fire.

         67.     Upon information and belief, instead of assigning an individual to act as the DO during

  the Chimney Tops 2 Fire, Mr. Salansky unilaterally decided to act as the DO himself.

         68.     Mr. Salansky violated the NPS policy and the FMP by unilaterally deciding to function

  in all five critical command positions: Zone FMO, Park FMO, IC, the DO, as well as that of Safety

  Officer—in a direct contradiction to mandates outlined in the Redbook.

         69.     Upon information and belief, the Park’s senior leadership did not question or oppose

  Mr. Salansky’s self-designation to act as all five critical command positions at any time during the

  Chimney Tops 2 Fire. [Exhibit 3, NPS Report, at 9, 36, 53].

         70.     Upon information and belief, if Mr. Salansky had designated others to be the IC or DO

  from Park personnel or elsewhere, the required process would likely have produced policy oversight and

  the system of checks and balances required and necessary to assess and manage the fire-suppression

  response and make fire-related decisions.

         71.     Mr. Salansky directly violated the mandated directives set forth in the NPS and FMP.

  As a result, Mr. Salansky was unable to manage all the tasks required of each separate role, resulting

  in the complete failure to contain the Fire within the GSMNP.




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         72.     As a result of the violation of mandated command-structure requirements by Mr.

  Salansky and Park leaders, acting within the course and scope of their employment, the Chimney Tops

  2 Fire escaped from GSMNP.

                                  MANDATORY USE OF WFDSS

         73.     The Wildland Fire Decision Support System (“WFDSS”) is a web-based program

  which must be used to assess and document the response to a wildfire. [Exhibit 6, FMP, at 65; Exhibit

  3, NPS Report, at 36-37].

         74.     WFDSS assesses and documents response to wildfires in the following manner: (1)

  describes and analyzes the fire situation; (2) develops incident objectives and requirements; (3)

  develops a course of action; (4) evaluates relative risk; (5) completes an organization assessment; (6)

  documents the rationale; and (7) publishes a decision. [Exhibit 3, NPS Report, at 36-37].

         75.     A WFDSS decision provides and includes the following critical information:

                     a. Incident. This includes name, unique identifier, responsible agency,
                        location, and discovery date/time.

                     b. Situation. Multiple mapping layers can display how fire perimeter
                        growth impacts landscape values or points of interest. Incident owners
                        can run Basic and Short Term Fire Behavior analyzes, view objectives,
                        Energy Release Component (ERC) graphs, and/or current weather.

                     c. Objectives. The incident owner designates incident-specific objectives
                        and requirements that satisfy guidance found in Strategic Objectives
                        and Land Management Plans.

                     d. Course of Action. The incident owner develops a strategic plan to
                        manage the fire. This includes cost estimates and any additional actions
                        required to implement the strategic plan.

                     e. Cost. Estimated Final Cost can be documented as well as the cost
                        estimation method used to derive it.

                     f. Decision List. The incident owner reviews/edits the list of reviewers
                        and approvers, creates and checks in the decision, and submits it for
                        review and/or approval.




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          76.     WFDSS decisions are critical in that they document fire management strategies,

  estimated costs relative to fire management, and ensure that strategic plans to manage a fire are subject

  to oversight as well as checks and balances.

          77.     Publishing a WFDSS decision ensures that a fire incident is managed using the latest

  science, relative risk assessments, and fire model data. In addition, publishing a WFDSS decision

  ensures fire management plans are subject to oversight.

          78.     The GSMNP FMP states that the use of WFDSS on each fire is mandatory. [Exhibit

  6, FMP, at 30; Exhibit 3, NPS Report, at 37].



          79.     In addition, the following direction appears in NPS Reference Manual 18:

                  Parks will use the current decision support process (e.g. Wildland Fire
                  Decision Support System, WFDSS) to guide and document wildfire
                  management decisions. The process will provide situational
                  assessment, analyze hazards and risk, define implementation actions,
                  and document decisions and rationale for those decisions.

  [Exhibit 5, NPS Reference Manual 18, at 10-11].

          80.     According to the NPS Report, “[GSMNP] leadership was unaware of Redbook

  requirements that WFDSS be applied to all fires within park boundaries.” [Exhibit 3, NPS Report, at

  38].

          81.     The NPS Report also found GSMNP administrative personnel were not trained in

  WFDSS. [Exhibit 3, NPS Report, at 38].

          82.     WFDSS should have been activated by Mr. Salansky prior to Monday, November 28,

  2016.

          83.     By failing to utilize WFDSS in a timely manner, and publish the required WFDSS

  decisions in a timely manner, GSMNP personnel, including Mr. Salansky, neglected to perform

  situational assessments, to analyze hazards and risks, document decisions, as well as the rationale for



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  those decisions, and to ensure that the strategic plan and all related decisions were subject to the

  appropriate oversight, checks, and balances.

            84.   These failures substantially contributed to the inability to suppress and/or contain the

  Chimney Tops 2 Fire before it left the Park, as appropriate ongoing assessments—along with

  recognition of command-control functions—would have demanded significant additional suppression

  resources to put out the Fire.

                                     NEGLIGENT FIRE SPREAD

            85.   Plaintiffs re-allege all preceding paragraphs as though fully set forth herein.

            86.   Defendant is liable for tort actions in the same manner and to the same extent as a

  private individual under like circumstances. 28 U.S.C. §§ 1346(b), 2674.

            87.   Tennessee law provides that a party is negligent when there is, “(1) a duty of care owed

  by defendant to plaintiff; (2) conduct below the applicable standard of care that amounts to a breach of

  that duty; (3) an injury or loss; (4) cause in fact; and (5) proximate, or legal, cause.” Giggers v. Memphis

  Hous. Auth., 277 S.W.3d 359, 364 (Tenn. 2009) (quoting McCall v. Wilder, 913 S.W.2d 150, 153 (Tenn.

  1995)).

            88.   Defendant, as owner of the GSMNP, owed a duty to prevent a dangerous condition

  on Park property—the Chimney Tops 2 Fire—from escaping the Park and causing injuries to property

  outside the Park, including the property of Plaintiffs’ insureds.

            89.   Defendant breached its duty by:

                  a.      failing to adhere to mandatory fire management policies and
                          requirements;

                  b.      failing to comply with mandatory wildfire management policies and
                          requirements that compel Park fire managers to monitor any wildfire on
                          their land, including, but not limited to, DO #18, NPS Reference
                          Manual 18, the GSMNP’s FMP, the Interagency Standards for Fire
                          and Fire Aviation Operations (the “Redbook”), the Fire Monitoring
                          Handbook (“FMH”), and other written or settled fire management



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                          policies, procedures, rules, regulations and guidelines;

                  c.      failing to comply with mandatory wildfire management policies and
                          requirements that compel Park fire managers to notify park neighbors
                          of fire management activities that have the potential to impact them;

                  d.      failing to provide mandatory notice and warning to Park neighbors,
                          local government officials, local fire departments, local residents and
                          visitors about the status of and imminent danger presented by the
                          Chimney Top 2 Fire;

                  e.      failing to adhere to mandatory command structure requirements; and

                  f.      failing to utilize the mandatory Wildland Fire Decision Support System
                          (“WFDSS”), which would have prompted (1) periodic assessments of
                          the ongoing effectiveness and (2) re- evaluation of suppression-
                          strategies; and (3) oversight of fire management and suppression
                          strategies.

          90.     As a result of these negligent acts or omissions by Mr. Salansky and Park Leaders, acting

  within the course and scope of their employment, in violation of mandatory directives, Plaintiffs’

  policyholders suffered extensive property damage, including damage or destruction of their real

  property, personal property, businesses, and automobiles.

                                        PRAYER FOR RELIEF

          Now having fully stated their causes of action, Plaintiffs would move the Court to grant the

  following relief:

                  a.      That a summons be issued against the Defendant;

                  b.      That the Court award Plaintiffs compensatory, consequential, and incidental
                          damages in amounts to be proven at trial, pre-judgment interest, post-
                          judgment interest, and any and all actual relief to which Plaintiffs may be
                          entitled in an amount not less than $200,000,000.00;

                  c.      That Plaintiffs be awarded their reasonable attorney’s fees and costs in this
                          action, including expert and accounting fees, pursuant to Tennessee Code
                          Annotated Section 29-16-123;

                  d.      That a jury of Plaintiffs’ peers be seated for the trial of this matter; and

                  e.      That the Court award such other relief as it deems appropriate.

          Respectfully submitted, this the 18th day of November 2019.



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                                     KAY GRIFFIN LLP


                                     /s/Matthew J. Evans
                                     Matthew J. Evans BPR #017973
                                     Michael A. Johnson BPR #030210
                                     900 South Gay Street, Suite 802
                                     Knoxville, TN 37902
                                     (865) 314-8422




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